Case: 3:13-cv-00416-TMR Doc #: 552 Filed: 12/21/23 Page: 1 of 13 PAGEID #: 20090

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  1                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
  2                                  AT DAYTON
         ___________________________________
  3                                           )
         ROGER DEAN GILLISPIE,                )
  4                                           )
                              Plaintiff,      ) CASE NO. 3:13-cv-416-TMR
  5                                           )
                        -vs-                  )
  6                                           )
         THE CITY OF MIAMI TOWNSHIP, ET AL., ) JURY TRIAL
  7                                           )
                              Defendants.     ) VOLUME X
  8      ___________________________________)
                             TRANSCRIPT OF PROCEEDINGS
  9                       THE HONORABLE THOMAS M. ROSE,
                    UNITED STATES DISTRICT JUDGE, PRESIDING
 10                         MONDAY, NOVEMBER 21, 2022
                                    DAYTON, OH
 11
         For the Plaintiff:             MICHAEL KANOVITZ, ESQ.
 12                                     DAVID B. OWENS, ESQ.
                                        MEGAN C. PORTER, ESQ.
 13                                     Loevy & Loevy
                                        311 N. Aberdeen Street
 14                                     3rd Floor
                                        Chicago, IL 60607
 15
         For the Defendant              JOHN T. McLANDRICH, ESQ.
 16      Matthew Scott Moore:           Mazanec, Raskin & Ryder Co., LPA
                                        3305 Solon Road
 17                                     100 Franklin's Row
                                        Cleveland, OH 44139
 18
         For the Intervenor             DAWN M. FRICK ESQ.
 19      Miami Township:                CHRISTOPHER T. HERMAN, ESQ.
                                        Surdyk, Down & Turner Co., LLP
 20                                     8163 Old Yankee Street
                                        Suite C
 21                                     Dayton, OH 45458

 22           Proceedings recorded by mechanical stenography,
         transcript produced by computer.
 23                       Mary A. Schweinhagen, RDR, CRR
                         Federal Official Court Reporter
 24                           200 West Second Street
                                 Dayton, OH 45402
 25                               *** *** *** ***


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Case: 3:13-cv-00416-TMR Doc #: 552 Filed: 12/21/23 Page: 2 of 13 PAGEID #: 20091

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  1      Courtroom Deputy:      Elizabeth Penski

  2      Law Clerks:     Michael Mayer, Callum Morris

  3      Also Present: Roger Dean Gillispie, plaintiff; Valerie
         Barajas, paralegal; Matt Thibodeau, paralegal; Jeff Weber, IT
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Case: 3:13-cv-00416-TMR Doc #: 552 Filed: 12/21/23 Page: 3 of 13 PAGEID #: 20092

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  1              P-R-O-C-E-E-D-I-N-G-S                                 9:00 A.M.

  2              (On the record outside the presence of the jury at 11:26

  3      a.m.)

  4                   THE COURT:    We're on the record outside the presence

  5      of the jury.

  6              We have a question from the jurors.         The question reads,

  7      "Question about damages.        Any number we might provide, are

  8      lawyers costs and court fees coming out of that or can lawyer

  9      costs and court fees be stipulated by -- stipulated to be

 10      added to any award?"

 11              I'll give everybody an opportunity to say what they want,

 12      how they think I should reply to it, and then I'll tell you

 13      how I'm going to reply to it.

 14                   MR. OWENS:    I think on behalf of plaintiff it seems

 15      like you should just direct the jurors to the compensatory

 16      damage instruction the Court has provided and tell them to,

 17      you know, listen to the Court's instruction.

 18                   MR. McLANDRICH:     We all know there is a fee award in

 19      addition to the damage award.         So it seems like that would be

 20      the response.

 21                   MS. FRICK:    I would say that they are not to

 22      consider attorney fees at this point.

 23                   THE COURT:    Anything else?

 24              Counsel, I'm going to respond as follows:          "Ladies and

 25      gentlemen, the Court has provided you instructions of law as


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Case: 3:13-cv-00416-TMR Doc #: 552 Filed: 12/21/23 Page: 4 of 13 PAGEID #: 20093

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  1      to damages.     These are the instructions that you should

  2      consider in your deliberations."

  3            I'll make a copy of this.         I'll make a copy of the note

  4      that I send back to them for your respective files.

  5            (Concluded at 11:29 a.m.)

  6            (Jury in at 1:17 p.m.)

  7            (In open court at 1:18 p.m.)

  8                   THE COURT:    We're back on the record.

  9            It's the Court's understanding that the jury has reached

 10      a verdict.     Is that correct?

 11            Who's the foreperson?

 12                   THE JUROR:    I am.

 13                   THE COURT:    Is that correct?

 14                   THE JUROR:    Yes.

 15                   THE COURT:    Could you please hand the verdict to

 16      Ms. Penski.

 17            Ms. Penski, will you please read the verdicts and the

 18      answers to Part III of the additional issues, for the record.

 19            Before you do that, ladies and gentlemen, the Court's

 20      going to have Ms. Penski read onto the record the verdicts and

 21      the answers to the additional questions that were part of the

 22      verdict form.      As always, the Court will not tolerate any

 23      disturbance or any type of reaction, verbal reaction with

 24      regard to the verdict.

 25            Ms. Penski.


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Case: 3:13-cv-00416-TMR Doc #: 552 Filed: 12/21/23 Page: 5 of 13 PAGEID #: 20094

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  1                   THE COURTROOM DEPUTY:       We, the jury, considering

  2      each claim individually, unanimously find as follows on the

  3      Plaintiff Gillispie's claims against Defendant Moore.

  4            Claim One, Due Process, Fair Trial, Unreliable

  5      Identification.      We, the jury, find for the plaintiff.

  6            Claim Two, Due Process, Fair Trial, Suppression of

  7      Evidence.     We, the jury, find for the plaintiff.

  8            We, the jury, having found in favor of Plaintiff

  9      Gillispie and against Defendant Moore on any one or more of

 10      the plaintiff's claims now assess damages as follows:

 11            45 million.

 12            We, the jury, having found in favor of Plaintiff

 13      Gillispie and against Defendant Moore on any one or more of

 14      the plaintiff's claims now assess the following questions:

 15            For Claim One, did we find in favor of the plaintiff?

 16            Yes.

 17            With respect to Claim One only, was it proven by a

 18      preponderance of the evidence that Matthew Scott Moore was not

 19      acting in good faith?

 20            No.

 21            With respect to Claim One only, was it proven by a

 22      preponderance of the evidence that Matthew Scott Moore was

 23      acting manifestly outside the scope of his employment or

 24      official responsibilities as a police officer with Miami

 25      Township?


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Case: 3:13-cv-00416-TMR Doc #: 552 Filed: 12/21/23 Page: 6 of 13 PAGEID #: 20095

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  1            No.

  2            With respect to Claim One only, was it proven by a

  3      preponderance of the evidence that Matthew Scott Moore was not

  4      acting within the scope of his employment or official

  5      responsibilities as a police officer with Miami Township?

  6            Answer:    No.

  7            For Claim Two, Suppression of Evidence, did we find in

  8      favor of the plaintiff?

  9            Yes.

 10            With respect to Claim Two only, was it proven by a

 11      preponderance of the evidence that Matthew Scott Moore was not

 12      acting in good faith?

 13            No.

 14            With respect to Claim Two only, was it proven by a

 15      preponderance of the evidence that Matthew Scott Moore was

 16      acting manifestly outside the scope of his employment or

 17      official responsibilities as a police officer with Miami

 18      Township?

 19            No.

 20            With respect to Claim Two only, was it proven by a

 21      preponderance of the evidence that Matthew Scott Moore was not

 22      acting within the scope of his employment or official

 23      responsibilities as a police officer with Miami Township?

 24            No.

 25            This verdict is executed by all jurors.


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Case: 3:13-cv-00416-TMR Doc #: 552 Filed: 12/21/23 Page: 7 of 13 PAGEID #: 20096

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  1                  THE COURT:     Counsel, is there a request to have the

  2      jury polled?

  3                  MR. KANOVITZ:      No, Your Honor.

  4                  MR. McLANDRICH:       No, sir.

  5                  MS. FRICK:     Yes, Your Honor.

  6                  THE COURT:     Ms. Penski, can you poll the jurors by

  7      number, please?

  8                  THE COURTROOM DEPUTY:        Members of the jury, you have

  9      heard the reading of the verdict.            Is this your verdict?

 10      Answer by saying, "Yes."

 11            Juror Number 2, is this your verdict?

 12                  THE JUROR:     Yes.

 13                  THE COURTROOM DEPUTY:        Juror Number 3, is this your

 14      verdict?

 15                  THE JUROR:     Yes.

 16                  THE COURTROOM DEPUTY:        Juror Number 4, is this your

 17      verdict?

 18                  THE JUROR:     Yes.

 19                  THE COURTROOM DEPUTY:        Juror Number 5, is this your

 20      verdict?

 21                  THE JUROR:     Yes.

 22                  THE COURTROOM DEPUTY:        Juror Number 6, is this your

 23      verdict?

 24                  THE JUROR:     Yes.

 25                  THE COURTROOM DEPUTY:        Juror Number 7, is this your


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Case: 3:13-cv-00416-TMR Doc #: 552 Filed: 12/21/23 Page: 8 of 13 PAGEID #: 20097

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  1      verdict?

  2                  THE JUROR:     Yes.

  3                  THE COURTROOM DEPUTY:        Juror Number 8, is this your

  4      verdict?

  5                  THE JUROR:     Yes.

  6                  THE COURTROOM DEPUTY:        Members of the jury, you have

  7      heard the reading of the answer -- the reading of the

  8      interrogatory.      Is this your answer?       Please answer by saying

  9      "Yes."

 10            Juror Number 2, is this your answer?

 11                  THE JUROR:     Yes.

 12                  THE COURTROOM DEPUTY:        Juror Number 3, is this your

 13      answer?

 14                  THE JUROR:     Yes.

 15                  THE COURTROOM DEPUTY:        Juror Number 4, is this your

 16      answer?

 17                  THE JUROR:     Yes.

 18                  THE COURTROOM DEPUTY:        Juror Number 5, is this your

 19      answer?

 20                  THE JUROR:     Yes.

 21                  THE COURTROOM DEPUTY:        Juror Number 6, is this your

 22      answer?

 23                  THE JUROR:     Yes.

 24                  THE COURTROOM DEPUTY:        Juror Number 7, is this your

 25      answer?


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Case: 3:13-cv-00416-TMR Doc #: 552 Filed: 12/21/23 Page: 9 of 13 PAGEID #: 20098

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  1                  THE JUROR:     Yes.

  2                  THE COURTROOM DEPUTY:        Juror Number 8, is this your

  3      answer?

  4                  THE JUROR:     Yes.

  5                  THE COURT:     Ladies and gentlemen, you have been

  6      asked to affirm that the answers to the interrogatories were

  7      your true answer.

  8            I am going to ask you that same question, but I am going

  9      to ask you in plural.

 10            Were those answers to the interrogatories your true

 11      answer?

 12            Juror Number 2?

 13                  THE JUROR:     Yes.

 14                  THE COURT:     Juror Number 3?

 15                  THE JUROR:     Yes.

 16                  THE COURT:     Juror Number      4?

 17                  THE JUROR:     Yes.

 18                  THE COURT:     Juror Number 5?

 19                  THE JUROR:     Yes.

 20                  THE COURT:     Juror Number 6?

 21                  THE JUROR:     Yes.

 22                  THE COURT:     Juror Number 7?

 23                  THE JUROR:     Yes.

 24                  THE COURT:     Juror Number 8?

 25                  THE JUROR:     Yes.


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Case: 3:13-cv-00416-TMR Doc #: 552 Filed: 12/21/23 Page: 10 of 13 PAGEID #: 20099

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  1                    THE COURT:    All right.     Ladies and gentlemen, this

  2       has been a long trial.       It's taken two weeks-plus of your

  3       lives.

  4               The Court does, again, on behalf of the parties and the

  5       Court, appreciate your patience, your time that you have

  6       sacrificed, and gave every attention you could to the

  7       evidence, the arguments of counsel, and the instructions of

  8       law.

  9               I know I appreciate it, and I know counsel appreciate it.

 10       So, ladies and gentlemen -- well, just hold on a second.

 11               Counsel, is there anything further before I excuse the

 12       jury?

 13                    MR. OWENS:    No.   Just our thanks.

 14                    THE COURT:    Counsel?

 15                    MR. McLANDRICH:     No, sir.

 16                    THE COURT:    Counsel?

 17                    MS. FRICK:    No, sir.

 18                    THE COURT:    Ladies and gentlemen of the jury, you

 19       are excused from your service.          I am removing your

 20       admonitions.

 21               Now, what I will tell you is, I've always said that once

 22       I remove the admonition you can talk to anyone you wish and as

 23       much as you wish, but right along with that goes you don't

 24       have to talk to anyone about this.          So although you now have

 25       the right to talk, you don't have to.           So if you don't want --


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Case: 3:13-cv-00416-TMR Doc #: 552 Filed: 12/21/23 Page: 11 of 13 PAGEID #: 20100

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  1       if you don't want to talk, all you need to do is tell whomever

  2       that you do not wish to talk about the jury verdict or any

  3       part of the case.

  4             Ladies and gentlemen, we have -- since you've spent over

  5       two-plus weeks with us, we've even got a certificate for you.

  6       So, ladies and gentlemen, with the thanks of the Court, I'll

  7       let you retire to the jury room.

  8             (Jury excused at 1:27 p.m.)

  9                   THE COURT:     Please be seated.

 10             I would ask counsel for plaintiff to draft and propose

 11       the judgment in accordance with the jury's verdict.

 12             Anything further to come before the Court at this time?

 13                   MR. OWENS:     No.     We appreciate it, Your Honor.

 14                   THE COURT:     Counsel?

 15                   MR. McLANDRICH:        The only thing that comes to mind,

 16       Your Honor, is I think the answers derived from the

 17       interrogatories, but the dec action's technically an issue of

 18       law for the Court.       I presume that that has to be --

 19                   THE COURT:     What I'm planning to do with that is

 20       within the next very short, very short future here to get

 21       counsel for the defendant and for the intervenor on the phone

 22       and we'll talk about that, how we want to proceed.

 23                   MR. McLANDRICH:        Thank you.

 24                   THE COURT:     Anything further?

 25                   MR. KANOVITZ:        Not at present.   Thank you, Your


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Case: 3:13-cv-00416-TMR Doc #: 552 Filed: 12/21/23 Page: 12 of 13 PAGEID #: 20101

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  1       Honor.

  2                    MR. McLANDRICH:     No, sir.

  3                    THE COURT:    Well, counsel, regardless of who you

  4       represented, I am -- I am impressed with your professionalism.

  5       I am impressed with your knowledge, and I am impressed with

  6       your advocacy on behalf of your respective clients.              It was

  7       truly a pleasure and honor to have you all appear in this

  8       court.

  9             Thank you very much.

 10                    THE COURTROOM DEPUTY:      All rise.     This court stands

 11       in recess.

 12             (Court concluded at 1:29 p.m.)

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Case: 3:13-cv-00416-TMR Doc #: 552 Filed: 12/21/23 Page: 13 of 13 PAGEID #: 20102

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  1                               CERTIFICATE OF REPORTER

  2

  3                   I, Mary A. Schweinhagen, Federal Official Realtime

  4       Court Reporter, in and for the United States District Court

  5       for the Southern District of Ohio, do hereby certify that

  6       pursuant to Section 753, Title 28, United States Code that the

  7       foregoing is a true and correct transcript of the

  8       stenographically reported proceedings held in the

  9       above-entitled matter and that the transcript page format is

 10       in conformance with the regulations of the Judicial Conference

 11       of the United States.

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 13       s/Mary A. Schweinhagen

 14       __________________________________ 21st of December, 2023

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          FEDERAL OFFICIAL COURT REPORTER
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